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     JON M. SANDS
 1   Federal Public Defender
     District of Arizona
 2   850 W. Adams, Suite 201
     Phoenix, Arizona 85007
 3   Telephone: 602-382-2700
 4   MARK RUMOLD
     California Bar #279060
 5   Asst. Federal Public Defender
     Attorney for Defendant
 6   mark_rumold@fd.org
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                         IN THE UNITED STATES DISTRICT COURT
 8
                                 DISTRICT OF ARIZONA
 9
10                                                   No. CR-20-00634-PHX-DWL
11   United States of America,                        MOTION TO CONTINUE
                                                         SENTENCING
12                Plaintiff,
                                                             (Second Request)
13         vs.                                            (Defendant in Custody)
14   Jill Marie Jones,
                                                    Sentencing set for June 12, 2023
15                Defendant.
16
           Defendant Jill Marie Jones, through undersigned counsel, respectfully
17
     requests the Court continue sentencing in this matter for a period of at least ninety
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     (90) days from the current date of June 12, 2023.
19
           Additional time is necessary to prepare for sentencing in this complex
20
     matter. The defense requires additional time to complete investigation relevant to
21
     sentencing; to consult with experts; to prepare Ms. Jones for sentencing; and to
22
     otherwise provide effective assistance of counsel.
23
24
           Defense counsel contacted Assistant United States Attorney Amy Chang

25   about the requested continuance, and Ms. Chang advised as follows: “The
26   government does not object to the motion, but respectfully requests that sentencing
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                                              1
28
      Case 2:20-cr-00634-DWL Document 122 Filed 05/11/23 Page 2 of 2




 1   not be scheduled from September 8 to September 25 due to previously scheduled
 2   travel plans.”
 3         Excludable delay will not result from this motion or from an order based
 4   thereon.
 5         Respectfully submitted: May 11, 2023
 6
                                   JON M. SANDS
 7                                 Federal Public Defender
 8
                                   s/Mark Rumold
 9
                                   MARK RUMOLD
10                                 Asst. Federal Public Defender
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